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                      IN THE UNITED STATED DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §               Case No: 2:15-cv-01877-JRG-RSP
                                    §
vs.                                 §               LEAD CASE
                                    §
AMERICAN HONDA MOTOR CO., INC. §
                                    §
      Defendants.                   §
___________________________________ §
                                    §
ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §               Case No: 2:15-cv-01674-JRG-RSP
                                    §
vs.                                 §               CONSOLIDATED CASE
                                    §
CARRIER CORPORATION                 §
                                    §
      Defendants.                   §
___________________________________ §

                    ORDER OF DISMISSAL WITHOUT PREJUDICE

       On this day, the Court considered Plaintiff Rothschild Connected Devices Innovations,

LLC’s motion to dismiss without prejudice, in the lawsuit between Plaintiff Rothschild

Connected Devices Innovations, LLC and Defendant Carrier Corporation Inc. Having considered

the Motion and the pleadings in this case, the Court is of the opinion that the Motion should be,

and is hereby GRANTED.

       Therefore, IT IS ORDERED that all claims asserted by Rothschild Connected Devices

Innovations, LLC against Carrier Corporation and any counterclaims or other claims that Carrier
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Corporation may have are hereby DISMISSED WITHOUT PREJUDICE, with each party to

bear its own costs, attorneys’ fees and other litigation expenses.
            SIGNED this 3rd day of January, 2012.
           SIGNED this 27th day of January, 2016.




                                                          ____________________________________
                                                          ROY S. PAYNE
                                                          UNITED STATES MAGISTRATE JUDGE
